       Case 4:11-cr-00129-JM      Document 477      Filed 06/22/12    Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

      vs.                 CASE NO. 4:11cr00129-17 JMM

ALESHIA JOHNSTON
USM Number: 26425-009



                      AMENDED JUDGMENT & COMMITMENT

      Due to a clerical error, the judgment and commitment entered in this case on June

7, 2012 (DE #473), is amended. Page 1 of the judgment is amended to indicate the

offense as a Class E Felony.

      The remaining portions of the Judgment will remain in full force and effect.

      The Clerk is directed to provide a copy of this order to Counsel, the United States

Probation Office, the United States Marshals Office.

      IT IS SO ORDERED this 22nd day of June 2012.




                                   UNITED STATES DISTRICT JUDGE
